EXHIBIT A ‐ Ineligible/No PTO28 Discovery/Received a Deficiency Letter and response date has expired


                                                                                                                        Zero
                                                                                                                        Compliance
                                                             Middle                                                     Deficiency
VCN      FirmName               LastName       FirstName     Initial        Case Caption               Docket #         Letter Date

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059858 Alvis & Willingham, LLP Cargil         John          D              Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059859 Alvis & Willingham, LLP Deady          John                         Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059861 Alvis & Willingham, LLP Franks         Mary          B              Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059862 Alvis & Willingham, LLP Highfield      Terry                        Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059863 Alvis & Willingham, LLP Holden         James         C              Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059864 Alvis & Willingham, LLP Kimbrough      Johnnie       D              Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059865 Alvis & Willingham, LLP Murphy         David                        Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Baugher Anna v. Merck & 2:06‐cv‐10077‐
1059866 Alvis & Willingham, LLP Polk           Lucille                      Co., Inc.               EEF‐DEK                 8/13/2008

                                                                            Middleton, Bobby v.        2:06‐cv‐02625‐
1059871 Alvis & Willingham, LLP Middleton      Larinda                      Merck & Co., Inc.          EEF‐DEK              8/13/2008

        Anapol, Schwartz,
        Weiss, Cohan, Feldman Young                                         Young, Russell v. Merck & 2:05‐cv‐00502‐
1063947 & Smalley, P.C.       (deceased)       Lisa          K.             Co., Inc.                 EEF‐DEK               8/13/2008

                                                                            Easterling, Doris v. Merck 2:08‐cv‐00881‐
1090991 Anderson, John H.       Hathorn        Sharise       M              & Co., Inc.                EEF‐DEK              8/13/2008

                                                                            Easterling, Doris v. Merck 2:08‐cv‐00881‐
1090994 Anderson, John H.       Osborne        Raymond       J              & Co., Inc.                EEF‐DEK              8/13/2008

                                                                            Graham, Cassie v. Merck 2:08‐cv‐00879‐
1090984 Anderson, John H.       Coleman        Cassandra                    & Co., Inc.             EEF‐DEK                 8/13/2008

                                                                            Nelson, Louis v. Merck & 2:08‐cv‐00880‐
1090980 Anderson, John H.       Fortenberry    Annette                      Co., Inc.                EEF‐DEK                8/13/2008

                                                                            Ditlevsen, Trey v. Merck   2:06‐cv‐03135‐
1071689 Arnold Law Firm         Ditlevsen      Trey                         & Co. Inc.                 EEF‐DEK              8/13/2008

        Austin & Associates,                                                Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118747 LLC                     Cole           Ansanta       P.             & Co., Inc.                EEF‐DEK              8/13/2008

        EXHIBIT A                                            Page 1 of 24                                  Ineligible/No Discovery
        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118748 LLC                     Conerly       Mary       F.             & Co., Inc.                EEF‐DEK           8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118750 LLC                     Harried       Carlee                    & Co., Inc.                EEF‐DEK           8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118751 LLC                     Joseph, Sr.   Gilbert                   & Co., Inc.                EEF‐DEK           8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118753 LLC                     King          Rosemary                  & Co., Inc.                EEF‐DEK           8/13/2008

        Austin & Associates,    McPherson,                              Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118754 LLC                     Sr.           Santonio                  & Co., Inc.                EEF‐DEK           8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118755 LLC                     Pichon        Venessa                   & Co., Inc.                EEF‐DEK           8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118756 LLC                     Salvant       Sidney                    & Co., Inc.                EEF‐DEK           8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118757 LLC                     Underwood     Mary                      & Co., Inc.                EEF‐DEK           8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Adair, Wilma v. Merck & 2:06‐cv‐10159‐
1004061 Miles, P.C.             Dunn          Kris       A.             Co., Inc.               EEF‐DEK              8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Barrell, Patricia v. Merck 2:06‐cv‐10175‐
1005512 Miles, P.C.             Browning      Jackson    L.             & Co., Inc.                EEF‐DEK           8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Barrell, Patricia v. Merck 2:06‐cv‐10175‐
1004931 Miles, P.C.             Gallegos      Joe                       & Co., Inc.                EEF‐DEK           8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Bronson, Vern v. Merck & 2:06‐cv‐10157‐
1004620 Miles, P.C.             Duke          Joyce                     Co., Inc.                EEF‐DEK             8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Bronson, Vern v. Merck & 2:06‐cv‐10157‐
1003015 Miles, P.C.             Pazicni       Cheryl     Ann            Co., Inc.                EEF‐DEK             8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Bronson, Vern v. Merck & 2:06‐cv‐10157‐
1005522 Miles, P.C.             Sullivant     Tresa                     Co., Inc.                EEF‐DEK             8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Burr, Virginia R. v. Merck 2:06‐cv‐09721‐
1001144 Miles, P.C.             Burr          Virginia   R.             & Co., Inc.                EEF‐DEK           8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Garry, Robert L. v. Merck 2:06‐cv‐10155‐
1000205 Miles, P.C.             Minnich       Marlene                   & Co., Inc.               EEF‐DEK            8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Garry, Robert L. v. Merck 2:06‐cv‐10155‐
1005074 Miles, P.C.             Richmond      Donna      B.             & Co., Inc.               EEF‐DEK            8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Gray, Meridith v. Merck   2:06‐cv‐10156‐
1005313 Miles, P.C.             Anderson      Brenda                    & Co., Inc.               EEF‐DEK            8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Gray, Meridith v. Merck   2:06‐cv‐10156‐
1005058 Miles, P.C.             Brookstone    Jennifer                  & Co., Inc.               EEF‐DEK            8/13/2008
       EXHIBIT A                                         Page 2 of 24                                  Ineligible/No Discovery
        Beasley, Allen, Crow,
        Methvin, Portis &                                                  Hanners, Tina v. Merck & 2:06‐cv‐10154‐
1001502 Miles, P.C.              Hanners       Tina                        Co., Inc.                EEF‐DEK             8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                                  Hanners, Tina v. Merck & 2:06‐cv‐10154‐
1002700 Miles, P.C.              Knight        James                       Co., Inc.                EEF‐DEK             8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                                  Laws, Iva v. Merck & Co., 3:06‐cv‐10174‐
1001244 Miles, P.C.              Lee           Robert                      Inc.                      EEF‐DEK            8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                                  Laws, Iva v. Merck & Co., 3:06‐cv‐10174‐
1004920 Miles, P.C.              Lewis         Selma                       Inc.                      EEF‐DEK            8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                                  Morgan, Janet S. v. Merck 2:05‐cv‐00496‐
1002664 Miles, P.C.              Wheaton       Rosie        L.             & Co., Inc.               EEF‐DEK            8/13/2008

                                                                           Fleckenstein, Pamela J. v. 2:05‐cv‐02261‐
1028533 Beattie Law Firm, P.C.   Kirkpatrick   Elizabeth    E.             Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                           Robles, Carmen v. Merck 2:06‐cv‐06963‐
1053620 Branch Law Firm          Smith         Ruby                        & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1074991 Cellino & Barnes         Adams         Mary         Ellen          & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1075076 Cellino & Barnes         Barrett       Jacqueline                  & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1075952 Cellino & Barnes         Johnson       Esther                      & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1076256 Cellino & Barnes         Matos‐Cruz    Migdalia                    & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1076339 Cellino & Barnes         Miller        Charlene                    & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1076688 Cellino & Barnes         Ricks         Elizabeth                   & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1076866 Cellino & Barnes         Shahid        Marge        A.             & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1077159 Cellino & Barnes         Walker        Renee                       & Co., Inc.             EEF‐DEK              8/13/2008

                                 Woodcock‐                                 Adams, Mary E. v. Merck 2:06‐cv‐02200‐
1077284 Cellino & Barnes         Borzilleri    Christine                   & Co., Inc.             EEF‐DEK              8/13/2008

                                                                           Albright, Ann M. G. v.    2:06‐cv‐02204‐
1074999 Cellino & Barnes         Albright      Ann          M.G.           Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                           Albright, Ann M. G. v.    2:06‐cv‐02204‐
1075272 Cellino & Barnes         Carrigan      Georgia                     Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                           Albright, Ann M. G. v.    2:06‐cv‐02204‐
1075547 Cellino & Barnes         Eddy          Judith                      Merck & Co., Inc.         EEF‐DEK            8/13/2008
       EXHIBIT A                                            Page 3 of 24                                  Ineligible/No Discovery
                                                                   Albright, Ann M. G. v.    2:06‐cv‐02204‐
1075717 Cellino & Barnes   Greeley       Judith                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                   Albright, Ann M. G. v.    2:06‐cv‐02204‐
1076830 Cellino & Barnes   Schultz       Barbara                   Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                   Albright, Ann M. G. v.    2:06‐cv‐02204‐
1076981 Cellino & Barnes   Steerman      Gladys                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1075006 Cellino & Barnes   Allen         Marie                     Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1075232 Cellino & Barnes   Butterfield   Myrtle                    Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1075265 Cellino & Barnes   Carmen        Joan                      Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1075474 Cellino & Barnes   Desormeau     Margaret                  Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1075551 Cellino & Barnes   Edwards       June       D.             Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1076028 Cellino & Barnes   Kingsley      Ella       Francis        Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1076055 Cellino & Barnes   Kollin        Jean                      Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1076081 Cellino & Barnes   Kwiek         Mary                      Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1076305 Cellino & Barnes   McPhaden      Arleen                    Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1110553 Cellino & Barnes   Otto          MaryLou                   Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1110556 Cellino & Barnes   Quinn         Sally                     Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1110566 Cellino & Barnes   Williams      Shirley                   Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Marie v. Merck &   2:06‐cv‐02220‐
1110567 Cellino & Barnes   Wilson        Gloria                    Co., Inc.                 EEF‐DEK           8/13/2008

                                                                   Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1075137 Cellino & Barnes   Blankenship   Donald                    Co., Inc.                EEF‐DEK            8/13/2008

                                                                   Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1075226 Cellino & Barnes   Burkey        Robert                    Co., Inc.                EEF‐DEK            8/13/2008

                                                                   Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1075274 Cellino & Barnes   Carroll       John                      Co., Inc.                EEF‐DEK            8/13/2008
       EXHIBIT A                                    Page 4 of 24                                 Ineligible/No Discovery
                                                                 Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1075475 Cellino & Barnes   DeSouza      William                  Co., Inc.                EEF‐DEK             8/13/2008

                                                                 Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1076076 Cellino & Barnes   Kulesza      Jeff                     Co., Inc.                EEF‐DEK             8/13/2008

                                                                 Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1076301 Cellino & Barnes   McMurray     Scott                    Co., Inc.                EEF‐DEK             8/13/2008

                                                                 Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1076817 Cellino & Barnes   Scherf       Frank                    Co., Inc.                EEF‐DEK             8/13/2008

                                                                 Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1110561 Cellino & Barnes   Smiley       Angelo                   Co., Inc.                EEF‐DEK             8/13/2008

                                                                 Allen, Ronnie v. Merck & 2:06‐cv‐02212‐
1076956 Cellino & Barnes   Spear        Mark      A.             Co., Inc.                EEF‐DEK             8/13/2008

                                                                 Amie, Vernon v. Merck & 2:06‐cv‐02219‐
1075204 Cellino & Barnes   Brown        James     N.             Co., Inc.               EEF‐DEK              8/13/2008

                                                                 Amie, Vernon v. Merck & 2:06‐cv‐02219‐
1075277 Cellino & Barnes   Carter       James     A.             Co., Inc.               EEF‐DEK              8/13/2008

                                                                 Amie, Vernon v. Merck & 2:06‐cv‐02219‐
1075583 Cellino & Barnes   Farnsworth   Wilson                   Co., Inc.               EEF‐DEK              8/13/2008

                                                                 Amie, Vernon v. Merck & 2:06‐cv‐02219‐
1076638 Cellino & Barnes   Rarick       Kenneth   L.             Co., Inc.               EEF‐DEK              8/13/2008

                                                                 Amie, Vernon v. Merck & 2:06‐cv‐02219‐
1077202 Cellino & Barnes   Weiser       Harlan    L.             Co., Inc.               EEF‐DEK              8/13/2008

                                                                 Anderson, Delanese v.      2:06‐cv‐01170‐
1076779 Cellino & Barnes   Sackett      Marlo                    Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                 Astrella, Michael v. Merck 2:06‐cv‐01173‐
1076242 Cellino & Barnes   Martin       William   J.             & Co., Inc.                EEF‐DEK           8/13/2008

                                                                 Ballantyne, Arthur W. v.   2:06‐cv‐02195‐
1075059 Cellino & Barnes   Ballantyne   Arthur    W.             Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                 Ballantyne, Arthur W. v.   2:06‐cv‐02195‐
1075569 Cellino & Barnes   Estep        John                     Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                 Ballantyne, Arthur W. v.   2:06‐cv‐02195‐
1076198 Cellino & Barnes   Lyons        William                  Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                 Ballantyne, Arthur W. v.   2:06‐cv‐02195‐
1076263 Cellino & Barnes   Mayeu        Michael                  Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                 Ballantyne, Arthur W. v.   2:06‐cv‐02195‐
1076563 Cellino & Barnes   Petty        Lee       C.             Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                 Ballantyne, Arthur W. v.   2:06‐cv‐02195‐
1076577 Cellino & Barnes   Plambeck     Richard                  Merck & Co., Inc.          EEF‐DEK           8/13/2008
       EXHIBIT A                                  Page 5 of 24                                  Ineligible/No Discovery
                                                                  Ballantyne, Arthur W. v.   2:06‐cv‐02195‐
1076662 Cellino & Barnes   Reilly      James                      Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1075077 Cellino & Barnes   Barrett     Janet       F.             Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1075201 Cellino & Barnes   Brown       Dianne                     Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1075235 Cellino & Barnes   Byrd        Deborah     A.             Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1075744 Cellino & Barnes   Habecker    Linda                      Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1076214 Cellino & Barnes   Maiorano    Patricia    M.             Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1076311 Cellino & Barnes   Melton      Roberta                    Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1076439 Cellino & Barnes   Negron      Myriam                     Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1076573 Cellino & Barnes   Pierre      Edele                      Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1077102 Cellino & Barnes   Tydus       Kathryn                    Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1077190 Cellino & Barnes   Webb        Carol       R.             Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Banks, Mary v. Merck &     2:06‐cv‐02214‐
1077199 Cellino & Barnes   Weese       Roxana                     Co., Inc.                  EEF‐DEK           8/13/2008

                                                                  Blodgett, Don v. Merck & 2:06‐cv‐02210‐
1075141 Cellino & Barnes   Blodgett    Don                        Co., Inc.                EEF‐DEK             8/13/2008

                                                                  Blodgett, Don v. Merck & 2:06‐cv‐02210‐
1076281 Cellino & Barnes   McDaniels   Asa         J.             Co., Inc.                EEF‐DEK             8/13/2008

                                                                  Bryant, Isabelle C. v.     2:06‐cv‐01203‐
1075865 Cellino & Barnes   Howard      Betty                      Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                  Bryant, Isabelle C. v.     2:06‐cv‐01203‐
1075916 Cellino & Barnes   Ivey        Mary                       Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                  Bryant, Isabelle C. v.     2:06‐cv‐01203‐
1076012 Cellino & Barnes   Kelly       Patricia    A.             Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                  Cannon, Mary v. Merck & 2:06‐cv‐01188‐
1077316 Cellino & Barnes   Zimmerman   Leigh Ann                  Co., Inc.               EEF‐DEK              8/13/2008

                                                                  Carr, Marie v. Merck &     2:06‐cv‐03612‐
1077191 Cellino & Barnes   Webb        Kathleen                   Co., Inc.                  EEF‐DEK           8/13/2008
       EXHIBIT A                                   Page 6 of 24                                  Ineligible/No Discovery
                                                                       Chase, Marilyn J. v. Merck 2:06‐cv‐01177‐
1076401 Cellino & Barnes       Moreno       Carmen                     & Co., Inc.                EEF‐DEK           8/13/2008

                                                                       Chase, Marilyn J. v. Merck 2:06‐cv‐01177‐
1076851 Cellino & Barnes       Sdao         Elizabeth   M.             & Co., Inc.                EEF‐DEK           8/13/2008

                                                                       Chase, Marilyn J. v. Merck 2:06‐cv‐01177‐
1077275 Cellino & Barnes       Wittcop      Jean        A.             & Co., Inc.                EEF‐DEK           8/13/2008

                                                                       Coles, Patti v. Merck &   2:07‐cv‐02936‐
1076330 Cellino & Barnes       Mietlowski   Alan                       Co., Inc.                 EEF‐DEK            8/13/2008

                                                                       Connors, Jeanette v.      2:06‐cv‐01190‐
1075358 Cellino & Barnes       Connors      Jeanette    A.             Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                       Connors, Jeanette v.      2:06‐cv‐01190‐
1076183 Cellino & Barnes       Loyd         Darlene                    Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                       Czekalski, Cindy v. Merck 2:06‐cv‐01207‐
1076227 Cellino & Barnes       Marble       Judy        A.             & Co., Inc.               EEF‐DEK            8/13/2008

                                                                       Czekalski, Cindy v. Merck 2:06‐cv‐01207‐
1076716 Cellino & Barnes       Robinson     Deborah                    & Co., Inc.               EEF‐DEK            8/13/2008

                                                                       Daluiso, Anna v. Merck & 2:06‐cv‐01197‐
1077133 Cellino & Barnes       Vecchio      Teresa                     Co., Inc.                EEF‐DEK             8/13/2008

                                                                       D'Angelo, Mary v. Merck 2:06‐cv‐09755‐
1075011 Cellino & Barnes       Amiss        Louise                     & Co., Inc.             EEF‐DEK              8/13/2008

                                                                       Donahue, James J. v.      2:06‐cv‐01206‐
1075503 Cellino & Barnes       Donahue      James       J.             Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                       Miskho, Brian v. Merck & 2:06‐cv‐01159‐
1076361 Cellino & Barnes       Miskho       Brian       W.             Co., Inc.                EEF‐DEK             8/13/2008

                                                                       Monte, John v. Merck &    2:06‐cv‐01167‐
1076320 Cellino & Barnes       Mertz        Charles                    Co., Inc.                 EEF‐DEK            8/13/2008

                               Werner‐                                 Werner Vecellio, Paula v. 2:06‐cv‐03900‐
1077210 Cellino & Barnes       Vecellio     Paula                      Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                       Boyd, Rutha v. Merck &    2:05‐cv‐05370‐
1097230 Douglas & London, PC   Bowie        Barbara                    Co., Inc.                 EEF‐DEK            8/13/2008

                                                                       Boyd, Rutha v. Merck &    2:05‐cv‐05370‐
1097257 Douglas & London, PC   Douglass     Roberta                    Co., Inc.                 EEF‐DEK            8/13/2008

                                                                       Boyd, Rutha v. Merck &    2:05‐cv‐05370‐
1097268 Douglas & London, PC   Fowler       Wardrey                    Co., Inc.                 EEF‐DEK            8/13/2008

                                                                       Boyd, Rutha v. Merck &    2:05‐cv‐05370‐
1097290 Douglas & London, PC   Hemphill     Charlene                   Co., Inc.                 EEF‐DEK            8/13/2008

                                                                       Boyd, Rutha v. Merck &    2:05‐cv‐05370‐
1097315 Douglas & London, PC   Lanier       Alfred                     Co., Inc.                 EEF‐DEK            8/13/2008
       EXHIBIT A                                        Page 7 of 24                                  Ineligible/No Discovery
                                                                         Boyd, Rutha v. Merck &    2:05‐cv‐05370‐
1097357 Douglas & London, PC     Pennington   Judie                      Co., Inc.                 EEF‐DEK             8/13/2008

                                                                         Civil, Jean v. Merck & Co., 2:08‐cv‐00307‐
1097245 Douglas & London, PC     Civil        Jean                       Inc.                        EEF‐DEK           8/13/2008

                                                                         Cruz, Maria D. v. Merck & 2:07‐cv‐07516‐
1097252 Douglas & London, PC     Delacruz     Maria                      Co., Inc.                 EEF‐DEK             8/13/2008

                                                                         Degraw, William v. Merck 2:08‐cv‐00308‐
1097251 Douglas & London, PC     Degraw       William                    & Co., Inc.              EEF‐DEK              8/13/2008

                                                                         Fullington, David v.      2:05‐cv‐05164‐
1097334 Douglas & London, PC     Miller       Geraldine                  Merck & Co., Inc.         EEF‐DEK             8/13/2008

                                                                         Kahan, Samuel v. Merck    2:07‐cv‐03632‐
1097214 Douglas & London, PC     Alcantra     Cornelia                   & Co., Inc.               EEF‐DEK             8/13/2008

                                                                         Lai, Tai M. v. Merck &    2:07‐cv‐08077‐
1097313 Douglas & London, PC     Lai          Tai Man                    Co., Inc.                 EEF‐DEK             8/13/2008

                                                                         Mott, Donald v. Merck & 2:07‐cv‐01398‐
1097341 Douglas & London, PC     Mott         Donald                     Co., Inc.               EEF‐DEK               8/13/2008

                                                                         Mott, Donald v. Merck & 2:07‐cv‐01398‐
1097386 Douglas & London, PC     Thompson     Catherine                  Co., Inc.               EEF‐DEK               8/13/2008

                                                                         Patterson, Phyllis v.     2:07‐cv‐01399‐
1097355 Douglas & London, PC     Patterson    Phyllis                    Merck & Co., Inc.         EEF‐DEK             8/13/2008

        Fabbro, Steven A., Law                                           Morris, Karen v. Merck & 2:06‐cv‐10993‐
1088641 Office of              Morris         Karen                      Co., Inc.                EEF‐DEK              8/14/2008

        Fabbro, Steven A., Law                                           Wiley, Janie v. Merck &   2:06‐cv‐11040‐
1088658 Office of                Wiley        Janie                      Co., Inc.                 EEF‐DEK             8/14/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                                Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071236 Conklin, Olds            Allred       Michael     Weston         & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                                Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071238 Conklin, Olds            Boothe       Linda       B.             & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                                Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071215 Conklin, Olds            Brent        Velma       R.             & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                                Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071230 Conklin, Olds            Chavez       Maria       T.             & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                                Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071211 Conklin, Olds            Ditterline   Timothy     A.             & Co., Inc.               EEF‐DEK             8/13/2008

       EXHIBIT A                                          Page 8 of 24                                   Ineligible/No Discovery
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071213 Conklin, Olds       Dominguez   Mary        C.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071237 Conklin, Olds       England     Mark        Anthony        & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071229 Conklin, Olds       Greive      Paul        W.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071228 Conklin, Olds       Harned      Mary        H.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071233 Conklin, Olds       Messerly    John        Craig          & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071246 Conklin, Olds       Palmer      Lola        H.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071212 Conklin, Olds       Patterson   Tina        M.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071232 Conklin, Olds       Porter      Carolyn     S.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071241 Conklin, Olds       Rawson      Jacquelia   Y.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071240 Conklin, Olds       Richards    Stewart                    & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071231 Conklin, Olds       Sanders     Geraldine                  & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071235 Conklin, Olds       Shuman      Earl        W.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071234 Conklin, Olds       Shuman      Melba       J.             & Co., Inc.               EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                          Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071243 Conklin, Olds       Storey      Valerie     J.             & Co., Inc.               EEF‐DEK           8/13/2008

       EXHIBIT A                                    Page 9 of 24                                 Ineligible/No Discovery
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071239 Conklin, Olds           Taylor      Maxine                      & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071216 Conklin, Olds           Thurgood    Angelia                     & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071245 Conklin, Olds           Weir        Leroy       Robert          & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071244 Conklin, Olds           Woods       Alan        T.              & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071242 Conklin, Olds           Woods       Thomas      P.              & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Chavez, Maria T. v. Merck 2:07‐cv‐00736‐
1071214 Conklin, Olds           Wright      Christine                   & Co., Inc.               EEF‐DEK             8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Montoya, Cristobal v.      2:07‐cv‐00735‐
1071247 Conklin, Olds           Averett     Marla       M.              Merck & Co., Inc.          EEF‐DEK            8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Montoya, Cristobal v.      2:07‐cv‐00735‐
1071219 Conklin, Olds           Lyons       Geraldine   A.              Merck & Co., Inc.          EEF‐DEK            8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Montoya, Cristobal v.      2:07‐cv‐00735‐
1071226 Conklin, Olds           Midgley     Andrea      J.              Merck & Co., Inc.          EEF‐DEK            8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Montoya, Cristobal v.      2:07‐cv‐00735‐
1071223 Conklin, Olds           Moffit      Gregory     A.              Merck & Co., Inc.          EEF‐DEK            8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                               Montoya, Cristobal v.      2:07‐cv‐00735‐
1071217 Conklin, Olds           Montoya     Cristobal                   Merck & Co., Inc.          EEF‐DEK            8/13/2008

        Fibich, Hampton &                                               Barr, Johnnie v. Merck & 2:05‐cv‐06369‐
1100423 Leebron, LLP            Lofton      Dorris                      Co., Inc.                EEF‐DEK              8/13/2008

                                                                        Prado, Carmen v. Merck     2:05‐cv‐06303‐
1112315 Fichera & Miller        Prado       Carmen                      & Co., Inc.                EEF‐DEK            8/14/2008

        Fincher, Henry D., Law                                          Clark, J. K. v. Merck & Co., 2:05‐cv‐00117‐
1080789 Office of              Clark        John        K               Inc.                         EEF‐DEK          8/13/2008

                                                                        Pitchford, Millie v. Merck 2:05‐cv‐05373‐
1068026 Godosky & Gentile, P.C. Pitchford   Millie                      & Co., Inc.                EEF‐DEK            8/14/2008

       EXHIBIT A                                        Page 10 of 24                                   Ineligible/No Discovery
                                                                      Ralston, Angela v. Merck 2:05‐cv‐06163‐
1114019 Golden & Fonte, PLC   Ralston     Angela                      & Co., Inc.              EEF‐DEK             8/13/2008

                                                                      Furman, Barbara v.        2:06‐cv‐10601‐
1106444 Hamilton Law Firm, P.C. Furman    Barbara     J.              Merck & Co., Inc.         EEF‐DEK            8/13/2008

        Herman, Herman, Katz                                          Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081054 & Cotler, LLP        Anderson     Patricia    A.              Co., Inc.                  EEF‐DEK           8/13/2008

        Herman, Herman, Katz                                          Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081065 & Cotler, LLP        Breaux       Terrell     D.              Co., Inc.                  EEF‐DEK           8/13/2008

        Herman, Herman, Katz                                          Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081121 & Cotler, LLP        Jackson      Tanisha                     Co., Inc.                  EEF‐DEK           8/13/2008

        Holloran White &                                              Gilmore, John G. v. Merck 2:05‐cv‐05351‐
1113884 Schwartz              Gilmore     John        G.              & Co., Inc.               EEF‐DEK            8/13/2008

        Johnson & Benjamin                                            Davenport, Stanley v.     2:05‐cv‐01540‐
1085701 LLP                   Davenport   Stanley                     Merck & Co., Inc.         EEF‐DEK            8/14/2008

                                                                      Burk, Carolyn v. Merck & 2:06‐cv‐10316‐
1115881 Johnson Law Associates Burk       Carolyn     E.              Co., Inc.                EEF‐DEK             8/13/2008

        Johnson, David H., Law                                        Goodell, Doris v. Merck & 2:06‐cv‐00314‐
1114015 Office of              Goodell    Doris       M.              Co., Inc.                 EEF‐DEK            8/13/2008

        Jones, Jeffrey W., PLLC,                                      Jones, Lila M. v. Merck & 2:05‐cv‐06144‐
1087497 Attorney at Law          Jones      Lila      M               Co., Inc.                 EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,      BRIDGEWATE                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105521 L.L.C.                   R          GLORIA                    Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105254 L.L.C.                   BUSBY      JUANITA                   Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105266 L.L.C.                   COLLINS    ANNIE     M.              Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105284 L.L.C.                   DECAY, SR. ELWIN     A.              Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105293 L.L.C.                   DILLARD    CHERYL                    Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105518 L.L.C.                   DOMINO     MARCEL                    Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105305 L.L.C.                   ELLIS      BARBARA                   Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105334 L.L.C.                   HALL       LOUIS                     Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105350 L.L.C.                   HOLDEN     MARY                      Co., Inc.               EEF‐DEK              8/13/2008
       EXHIBIT A                                      Page 11 of 24                                  Ineligible/No Discovery
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105351 L.L.C.                HOLMES      LINDA                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105361 L.L.C.                JACKSON     MINDY                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105360 L.L.C.                JACKSON     JENNIFER                   Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105367 L.L.C.                JOHNSON     GILDA                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105368 L.L.C.                JOHNSON     LEOLA                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,   KING ‐                                 Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105372 L.L.C.                NOLDEN      ALICIA                     Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105371 L.L.C.                KORNDORFER HELENA                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105540 L.L.C.                MARSHALL    ANN        L.              Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105517 L.L.C.                MARTIN      SUBRINA                    Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105394 L.L.C.                MARTIN      PATSY                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105397 L.L.C.                MCGEE       JEANETTE                   Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105411 L.L.C.                MULLET      MEGAN                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105420 L.L.C.                PAYNE       NIKERIA                    Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,   RANLETT,                               Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105432 L.L.C.                DECEASED    MARY                       Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105438 L.L.C.                ROBINSON    LYNNE      M.              Co., Inc.               EEF‐DEK            8/13/2008
                              ROBINSON,
                              DECEASED,
        Jones, Swanson,       C/O BETTY
        Huddell & Garrison,   JEAN                                   Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105439 L.L.C.                ROBINSON    OSCAR                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,   SESSIONS‐                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105452 L.L.C.                RODRIGUEZ   KATHY                      Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                          Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105455 L.L.C.                SIMMONS     ABBIE                      Co., Inc.               EEF‐DEK            8/13/2008

       EXHIBIT A                                     Page 12 of 24                                Ineligible/No Discovery
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105461 L.L.C.                SMITH          MARTHA      K.              Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105464 L.L.C.                SOLOMON        BARBARA     A.              Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105477 L.L.C.                TABOR          KRYSTLE                     Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105478 L.L.C.                TALLY          GWENDOLYN                   Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,   TAYLOR ‐                                   Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105533 L.L.C.                GREEN          CYNTHIA                     Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105484 L.L.C.                THOMPSON       BARBARA                     Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105498 L.L.C.                WASHINGTON MARY            G.              Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105502 L.L.C.                WEBB, JR.      JAMES                       Co., Inc.               EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105537 L.L.C.                WILLIAMS       DIANNA      C.              Co., Inc.               EEF‐DEK            8/13/2008

        Kaplan, Douglas,                                                 Bromfeld, Helen v. Merck 2:05‐cv‐02293‐
1113909 Attorney at Law       Bromfeld       Helen                       & Co., Inc.              EEF‐DEK           8/13/2008

        Kershaw, Cutter &                                                Tahami, Gholam v. Merck 2:06‐cv‐06741‐
1025869 Ratinoff, LLP         Tahami         Gholam      H.              & Co., Inc.             EEF‐DEK            8/14/2008

                              De‐La‐Cruz‐                                Acevedo, Jose v. Merck & 2:06‐cv‐06997‐
1050852 Lamb Firm, LLC, The   Mendes         Valina                      Co., Inc.                EEF‐DEK           8/13/2008

                                                                         Acevedo, Jose v. Merck & 2:06‐cv‐06997‐
1050858 Lamb Firm, LLC, The   Diaz‐Caban     Marilyn                     Co., Inc.                EEF‐DEK           8/13/2008

                                                                         Acevedo, Jose v. Merck & 2:06‐cv‐06997‐
1051066 Lamb Firm, LLC, The   Pereira‐Cruz   Miguel                      Co., Inc.                EEF‐DEK           8/13/2008

                              Riollano‐                                  Acevedo, Jose v. Merck & 2:06‐cv‐06997‐
1051102 Lamb Firm, LLC, The   Marrero        Carmen                      Co., Inc.                EEF‐DEK           8/13/2008

                              Soria‐                                     Acevedo, Jose v. Merck & 2:06‐cv‐06997‐
1051209 Lamb Firm, LLC, The   Melendez       Hector                      Co., Inc.                EEF‐DEK           8/13/2008
                                                                         Adames De La Rosa,
                              Irizarry‐                                  Rogelio v. Merck & Co., 2:06‐cv‐06999‐
1050940 Lamb Firm, LLC, The   Alvarez        Emily                       Inc.                     EEF‐DEK           8/13/2008
                                                                         Adames De La Rosa,
                              Medina‐                                    Rogelio v. Merck & Co., 2:06‐cv‐06999‐
1051001 Lamb Firm, LLC, The   Camacho        Mildred                     Inc.                     EEF‐DEK           8/13/2008
                                                                         Adames De La Rosa,
                              Rodriguez‐                                 Rogelio v. Merck & Co., 2:06‐cv‐06999‐
1051141 Lamb Firm, LLC, The   Molina         Elena                       Inc.                     EEF‐DEK           8/13/2008
       EXHIBIT A                                         Page 13 of 24                                Ineligible/No Discovery
                                                                         Alvarado, Ramon v.        2:06‐cv‐07150‐
1050746 Lamb Firm, LLC, The    Alvarado        Ramon                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Alvarado, Ramon v.        2:06‐cv‐07150‐
1050814 Lamb Firm, LLC, The    Colon‐Ortiz     Nancy                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050767 Lamb Firm, LLC, The    Baez‐Huertas Luz          M.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050781 Lamb Firm, LLC, The    Bravo‐Rivera    Nilda     G.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Cruz‐                                     Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050838 Lamb Firm, LLC, The    Rodriguez       Justa                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050848 Lamb Firm, LLC, The    De‐Jesus        Carmen                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Gonzalez‐                                 Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050918 Lamb Firm, LLC, The    Torres          Jose                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Guzman‐                                   Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050923 Lamb Firm, LLC, The    Gonzalez        Wanda                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Jimenez‐                                  Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050945 Lamb Firm, LLC, The    DeSantis        Tomas                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050965 Lamb Firm, LLC, The    Lopez‐Caro      Gladys                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Maldonado‐                                Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1050983 Lamb Firm, LLC, The    Rios            Juan                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1051009 Lamb Firm, LLC, The    Mendez‐Cotto Armando                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1051092 Lamb Firm, LLC, The    Reyes‐Aviles    Antonia                   Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Rodriguez‐                                Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1051148 Lamb Firm, LLC, The    Reyes           Carmen                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Rosado‐                                   Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1051160 Lamb Firm, LLC, The    Almodovar       Sonia                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1051198 Lamb Firm, LLC, The    Sellas‐Aviles   Luis                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                               Serrano‐                                  Amadis‐Rosario, Gladys v. 2:05‐cv‐06234‐
1051202 Lamb Firm, LLC, The    Nieves          Carmen                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Bell, Walter v. Merck &   2:06‐cv‐06998‐
1051256 Lamb Firm, LLC, The    Williams‐King Alisha      S.              Co., Inc.                 EEF‐DEK           8/13/2008

                                                                         Donnell, Bonnie v. Merck 2:06‐cv‐01045‐
1098561 Law Office of Dick Swift Thompson      Donna                     & Co., Inc.              EEF‐DEK            8/13/2008
       EXHIBIT A                                         Page 14 of 24                                 Ineligible/No Discovery
        Levin Fishbein Sedran                                              Ada Lindsey, Janice v.    2:05‐cv‐05867‐
1009045 & Berman                Ada‐Lindsey   Janice                       Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Levin Fishbein Sedran                                              Shaw, Shirley F. v. Merck 2:06‐cv‐09405‐
1009127 & Berman                Shaw          Shirley      F.              & Co., Inc.               EEF‐DEK           8/14/2008
        Lieff, Cabraser,
        Heimann & Bernstein,                                               Cifuentes, Sonia v. Merck 2:06‐cv‐03350‐
1064805 LLP                     Cifuentes     Sonia        E               & Co., Inc.               EEF‐DEK           8/14/2008
        Lieff, Cabraser,
        Heimann & Bernstein,                                               Frontauria, Eugene v.     2:05‐cv‐05679‐
1064818 LLP                     Frontauria    Eugene       G               Merck & Co., Inc.         EEF‐DEK           8/14/2008
        Lieff, Cabraser,
        Heimann & Bernstein,                                               Hindman, John v. Merck    2:05‐cv‐05873‐
1064822 LLP                     Hindman       John                         & Co., Inc.               EEF‐DEK           8/14/2008
        Lieff, Cabraser,
        Heimann & Bernstein,                                               Holbrook, Elmer v. Merck 2:05‐cv‐05756‐
1064823 LLP                     Holbrook      Elmer                        & Co., Inc.              EEF‐DEK            8/14/2008

        Lipsitz, Nassau,                                                   Conner, Thomas Jr. v.     2:06‐cv‐03918‐
1113991 Schwartz & Leckman      Conner        Thomas Jr.                   Merck & Co. Inc.          EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111777 Masters Law Firm, LC    Adkins        Johnny       A.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111778 Masters Law Firm, LC    Akers         William      J.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111779 Masters Law Firm, LC    Baldwin       Manuel                       Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111780 Masters Law Firm, LC    Ballard       Eliza        G               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111781 Masters Law Firm, LC    Barker        Kenneth                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111782 Masters Law Firm, LC    Blankenship   Roy          L               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111783 Masters Law Firm, LC    Borda         Mary         L               Merck & Co., Inc.         EEF‐DEK           8/14/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111784 Masters Law Firm, LC    Bosley        Rose         M.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111785 Masters Law Firm, LC    Canada        Samuel       R               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111786 Masters Law Firm, LC    Chandler      John         H               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111787 Masters Law Firm, LC    Conn          Joseph                       Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                           Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111793 Masters Law Firm, LC    Donnellan     Sandra       W               Merck & Co., Inc.         EEF‐DEK           8/13/2008
       EXHIBIT A                                           Page 15 of 24                                 Ineligible/No Discovery
                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1090892 Masters Law Firm, LC   Farley        Kathleen                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111794 Masters Law Firm, LC   Gollihue      Larry       F               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111796 Masters Law Firm, LC   Haines        Betty                       Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111797 Masters Law Firm, LC   Harless       Avon        F               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111798 Masters Law Firm, LC   Howard        Virgie                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111799 Masters Law Firm, LC   Hunt          Helen       G.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111801 Masters Law Firm, LC   Johnstone     Nancy                       Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111802 Masters Law Firm, LC   Jones         Beverly     A               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111803 Masters Law Firm, LC   Jones         Lydia       E               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111804 Masters Law Firm, LC   Keyser        Garnett     L               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111805 Masters Law Firm, LC   Kinser        Charles                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111806 Masters Law Firm, LC   Kirk          Junie                       Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111807 Masters Law Firm, LC   Legg          Beverly                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111808 Masters Law Firm, LC   Lester        George                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111809 Masters Law Firm, LC   Marcum        Cassandra                   Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111810 Masters Law Firm, LC   McBride       Evelyn      G.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111811 Masters Law Firm, LC   McCallister   Helen                       Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111813 Masters Law Firm, LC   Miller        James                       Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                         Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111815 Masters Law Firm, LC   Monk          Dale        E               Merck & Co., Inc.         EEF‐DEK           8/13/2008
       EXHIBIT A                                         Page 16 of 24                                 Ineligible/No Discovery
                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111816 Masters Law Firm, LC   Mynes        Larry     A               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111817 Masters Law Firm, LC   Pauley       Dennis    A               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111818 Masters Law Firm, LC   Pernell      Gracie    M               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111819 Masters Law Firm, LC   Plybon       Calvin    R               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111820 Masters Law Firm, LC   Price        Alonzo    C               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111822 Masters Law Firm, LC   Pritt        John                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111823 Masters Law Firm, LC   Quesenberry Harry                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111824 Masters Law Firm, LC   Ratcliff     Donna                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111825 Masters Law Firm, LC   Rutherford   Charles                   Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111795 Masters Law Firm, LC   Stewart      Ronald    G               Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111821 Masters Law Firm, LC   Stumbo       Danny                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111812 Masters Law Firm, LC   Sturgill     Betty                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1090851 Masters Law Firm, LC   Thompson     Charles   D.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111788 Masters Law Firm, LC   Thornsbury   Ed                        Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1090925 Masters Law Firm, LC   Tschop       Gladys    V.              Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111789 Masters Law Firm, LC   Vint         Michael                   Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1090859 Masters Law Firm, LC   Whitten      Sharon                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1090867 Masters Law Firm, LC   Willet       Karen                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.   2:06‐cv‐06601‐
1111790 Masters Law Firm, LC   Williams     Donald                    Merck & Co., Inc.         EEF‐DEK           8/13/2008
       EXHIBIT A                                      Page 17 of 24                                 Ineligible/No Discovery
                                                                      Adkins, Johnny Allen v.    2:06‐cv‐06601‐
1111791 Masters Law Firm, LC    Wilson      Theresa                   Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                      Adkins, Johnny Allen v.    2:06‐cv‐06601‐
1090882 Masters Law Firm, LC    Workman     William   F.              Merck & Co., Inc.          EEF‐DEK           8/13/2008

                                                                      Dickens, Leota F. v. Merck 2:07‐cv‐03312‐
1111792 Masters Law Firm, LC    Dickens     Leota                     & Co., Inc.                EEF‐DEK           8/13/2008

        Mayeux, Donald L., Law                                        Sonnier, Eddie v. Merck & 2:07‐cv‐06877‐
1119210 Firm                   Sonnier      Eddie                     Co., Inc.                 EEF‐DEK            8/13/2008

        McFarland & Lovely,                                           Arnett, Lavern v. Merck & 2:05‐cv‐06518‐
1113912 PSC                     Arnett      Lavern                    Co., Inc.                 EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alaniz, Paula G. v. Merck 2:06‐cv‐05999‐
1097976 (PA)                    Allen       Ivory                     & Co., Inc.               EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alaniz, Paula G. v. Merck 2:06‐cv‐05999‐
1098067 (PA)                    Denison     Brenda                    & Co., Inc.               EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alaniz, Paula G. v. Merck 2:06‐cv‐05999‐
1098151 (PA)                    Hopkins     Gladys                    & Co., Inc.               EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alaniz, Paula G. v. Merck 2:06‐cv‐05999‐
1098156 (PA)                    Hunt        Linda                     & Co., Inc.               EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alaniz, Paula G. v. Merck 2:06‐cv‐05999‐
1098358 (PA)                    Sweet       Maggie                    & Co., Inc.               EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alaniz, Paula G. v. Merck 2:06‐cv‐05999‐
1098359 (PA)                    Sylvia      Ronald                    & Co., Inc.               EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alaniz, Paula G. v. Merck 2:06‐cv‐05999‐
1098424 (PA)                    Wordlaw     Valerie                   & Co., Inc.               EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alegria, Jose v. Merck &   2:06‐cv‐05990‐
1098133 (PA)                    Hans        Robert                    Co., Inc.                  EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                         Alegria, Jose v. Merck &   2:06‐cv‐05990‐
1098145 (PA)                    Hogan       Geneva                    Co., Inc.                  EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                         Alegria, Jose v. Merck &   2:06‐cv‐05990‐
1098347 (PA)                    Sparr       Raymond                   Co., Inc.                  EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                         Allen, Vanessa v. Merck & 2:06‐cv‐05991‐
1098269 (PA)                    Nicholson   Thomas                    Co. Inc.                  EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                         Alvarado, Martha v.        2:06‐cv‐05980‐
1098258 (PA)                    Morrow      Sharon                    Merck & Co., Inc.          EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                         Bailey, Isolina v. Merck & 2:06‐cv‐05982‐
1098366 (PA)                    Taylor      Delilah                   Co., Inc.                  EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                         Bailey, Tammy v. Merck     2:06‐cv‐05987‐
1098005 (PA)                    Bonner      Brenda                    & Co., Inc.                EEF‐DEK           8/13/2008
       EXHIBIT A                                      Page 18 of 24                                  Ineligible/No Discovery
        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098123 (PA)                    Gregg      Kay                            & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098127 (PA)                    Haecker    Paul                           & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098157 (PA)                    Hurtibus   Linda                          & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098159 (PA)                    Hutchins   Roger                          & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098231 (PA)                    McDonald   Marva                          & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098344 (PA)                    Smith      Billy                          & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098349 (PA)                    Stafford   William Carl                   & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bailey, Tammy v. Merck    2:06‐cv‐05987‐
1098407 (PA)                    Webb       Daniel                         & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bates, Mary A. v. Merck   2:06‐cv‐05989‐
1098022 (PA)                    Burke      Jan                            & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bates, Mary A. v. Merck   2:06‐cv‐05989‐
1098271 (PA)                    Okon       Bassey                         & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bates, Mary A. v. Merck   2:06‐cv‐05989‐
1098351 (PA)                    Stevens    Howson                         & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Blackmon, Brenda v.       2:06‐cv‐05992‐
1098008 (PA)                    Bradshaw   Pat                            Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Blackmon, Brenda v.       2:06‐cv‐05992‐
1098116 (PA)                    Gonzalas   Raymond                        Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Blackmon, Brenda v.       2:06‐cv‐05992‐
1098247 (PA)                    Miller     Fred                           Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Blackmon, Brenda v.       2:06‐cv‐05992‐
1098391 (PA)                    Vann       Carol                          Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bloomberg, Virginia v.    2:06‐cv‐05984‐
1098098 (PA)                    Foshee     Jimmie                         Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bloomberg, Virginia v.    2:06‐cv‐05984‐
1098124 (PA)                    Griffith   Rickey                         Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bloomberg, Virginia v.    2:06‐cv‐05984‐
1098250 (PA)                    Mitchem    Robbin                         Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bloomberg, Virginia v.    2:06‐cv‐05984‐
1098303 (PA)                    Ratliff    Connie                         Merck & Co., Inc.         EEF‐DEK           8/13/2008
       EXHIBIT A                                          Page 19 of 24                                 Ineligible/No Discovery
        Miller Firm, LLC, The                                             Bloomberg, Virginia v.    2:06‐cv‐05984‐
1098313 (PA)                    Riester     Mary                          Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Bloomberg, Virginia v.    2:06‐cv‐05984‐
1098343 (PA)                    Smith       Willie                        Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Busk, John M. v. Merck & 2:06‐cv‐05983‐
1098016 (PA)                    Brown       Mary Lou                      Co., Inc.                EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                             Busk, John M. v. Merck & 2:06‐cv‐05983‐
1098024 (PA)                    Busk        John Morgan                   Co., Inc.                EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                             Busk, John M. v. Merck & 2:06‐cv‐05983‐
1098266 (PA)                    Nelson      Jeanette                      Co., Inc.                EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                             Cates, James H. v. Merck 2:06‐cv‐05994‐
1098062 (PA)                    Davis       Dale                          & Co., Inc.              EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                             Cates, James H. v. Merck 2:06‐cv‐05994‐
1098152 (PA)                    Hotchkiss   Pamela                        & Co., Inc.              EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                             Damon, Mary v. Merck & 2:06‐cv‐05993‐
1098056 (PA)                    Damon       Mary                          Co., Inc.              EEF‐DEK              8/13/2008

        Miller Firm, LLC, The                                             Damon, Mary v. Merck & 2:06‐cv‐05993‐
1098088 (PA)                    Evers       William                       Co., Inc.              EEF‐DEK              8/13/2008

        Miller Firm, LLC, The                                             Damon, Mary v. Merck & 2:06‐cv‐05993‐
1098109 (PA)                    Gipson      Vivian                        Co., Inc.              EEF‐DEK              8/13/2008

        Miller Firm, LLC, The                                             Damon, Mary v. Merck & 2:06‐cv‐05993‐
1098403 (PA)                    Watson      Christine                     Co., Inc.              EEF‐DEK              8/13/2008

        Miller Firm, LLC, The                                             Ferguson, Bonnie v.       2:07‐cv‐01827‐
1098093 (PA)                    Ferguson    Bonnie                        Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Gladden, Keith v. Merck   2:06‐cv‐05996‐
1098327 (PA)                    Sanders     Roxanne                       & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Hasbrouck, Charles v.     2:06‐cv‐05988‐
1098197 (PA)                    Leonard     Kathleen                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Lafay, Edward v. Merck & 2:06‐cv‐05998‐
1098398 (PA)                    Walker      Linda                         Co., Inc.                EEF‐DEK            8/13/2008

        Miller Firm, LLC, The                                             Russell, Celeste v. Merck 2:06‐cv‐05986‐
1098066 (PA)                    Demers      Brian F.                      & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Russell, Celeste v. Merck 2:06‐cv‐05986‐
1098195 (PA)                    Lee         Victoria                      & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Wusstig, Erwin v. Merck   2:06‐cv‐06958‐
1098171 (PA)                    Jones       Carol Ann                     & Co., Inc.               EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                             Wusstig, Erwin v. Merck   2:06‐cv‐06958‐
1098342 (PA)                    Smith       Darrell E.                    & Co., Inc.               EEF‐DEK           8/13/2008
       EXHIBIT A                                          Page 20 of 24                                 Ineligible/No Discovery
        Miller Firm, LLC, The                                            Wusstig, Erwin v. Merck     2:06‐cv‐06958‐
1098356 (PA)                     Sturgeon     Elmer                      & Co., Inc.                 EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                            Wusstig, Erwin v. Merck     2:06‐cv‐06958‐
1098378 (PA)                     Thornton     John M.                    & Co., Inc.                 EEF‐DEK           8/13/2008

                                                                         Beal, Janice v. Merck &     2:05‐cv‐06833‐
1093900 Mithoff Law Firm         Beal         George     T.              Co., Inc.                   EEF‐DEK           8/14/2008

        Natale, II, Frank A., Law                                        Conti, Angela J. v. Merck 2:06‐cv‐10680‐
1115314 Office of                 Conti       Angela     Jean            & Co., Inc.               EEF‐DEK             8/13/2008

                                                                         Scrivner, Paul v. Merck & 2:07‐cv‐00684‐
1113989 Nelson Law Office        SCRIVNER     PAUL       ARTHUR          Co., Inc.                 EEF‐DEK             8/13/2008

                                                                         Barker, Kathryn v. Merck 2:06‐cv‐03401‐
1025683 Reich and Binstock       Barker       Kathryn    L.              & Co., Inc.              EEF‐DEK              8/14/2008

                                                                         Borkowski, Tina v. Merck 2:06‐cv‐05691‐
1025688 Reich and Binstock       Borkowski    Tina                       & Co., Inc.              EEF‐DEK              8/14/2008

                                                                         Carver, Roger v. Merck & 2:05‐cv‐04981‐
1025700 Reich and Binstock       Carver       Gail       F.              Co., Inc.                EEF‐DEK              8/14/2008

                                                                         Duffield, Mary v. Merck & 2:05‐cv‐05451‐
1025713 Reich and Binstock       Duffield     Mary       A.              Co., Inc.                 EEF‐DEK             8/14/2008

                                                                         Morris, Richard v. Merck 2:06‐cv‐01442‐
1025767 Reich and Binstock       Morris       Richard    A.              & Co., Inc.              EEF‐DEK              8/14/2008

                                                                         Ward, Louise v. Merck & 2:06‐cv‐02554‐
1025798 Reich and Binstock       Ward         Louise                     Co., Inc.               EEF‐DEK               8/14/2008

                                                                         Woods, Winstun v. Merck 2:06‐cv‐03705‐
1025805 Reich and Binstock       Woods        Winstun    L.              & Co., Inc.             EEF‐DEK               8/14/2008

        Rubin, Machado &                                                 Birdow, Demper v. Merck 2:06‐cv‐09360‐
1115020 Rosenblum, Ltd.          Birdow       Demper                     & Co., Inc.             EEF‐DEK               8/13/2008

        Schmidt, Douglas M.,                                             Bartie, Angela v. Merck & 2:07‐cv‐01667‐
1061688 APLC                     Bartie       Angeline                   Co., Inc.                 EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                             Bumpers, Asarie v. Merck 2:07‐cv‐01681‐
1061690 APLC                     Bumpers      Asarie                     & Co., Inc.              EEF‐DEK              8/13/2008

        Schmidt, Douglas M.,                                             Celestine, Kenneth v.       2:07‐cv‐01633‐
1061691 APLC                     Celestine    Kenneth                    Merck & Co., Inc.           EEF‐DEK           8/13/2008

        Schmidt, Douglas M.,                                             DeBoest, Delores v.         2:07‐cv‐01680‐
1061697 APLC                     DeBoest      Delores                    Merck & Co., Inc.           EEF‐DEK           8/13/2008

        Schmidt, Douglas M.,     Ryce                                    Foster, Ray v. Merck &      2:07‐cv‐01666‐
1061734 APLC                     (deceased)   Vildred                    Co., Inc.                   EEF‐DEK           8/13/2008

        Schmidt, Douglas M.,                                             Guillory, Gloria v. Merck   2:07‐cv‐01647‐
1061708 APLC                     Guillory     Gloria                     & Co., Inc.                 EEF‐DEK           8/13/2008
       EXHIBIT A                                         Page 21 of 24                                   Ineligible/No Discovery
        Schmidt, Douglas M.,                                           Hamilton, Anna v. Merck 2:07‐cv‐01683‐
1061709 APLC                    Hamilton   Anna                        & Co., Inc.             EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                           LaFleur, Cynthia v. Merck 2:07‐cv‐01653‐
1061717 APLC                    LaFleur    Cynthia                     & Co., Inc.               EEF‐DEK           8/13/2008

        Schmidt, Douglas M.,                                           Mitchell, Clorinda v.     2:07‐cv‐01630‐
1061731 APLC                    Mitchell   Clorinda                    Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Schmidt, Douglas M.,                                           Stevens, Erma v. Merck & 2:07‐cv‐01673‐
1061736 APLC                    Stevens    Emma                        Co., Inc.                EEF‐DEK            8/13/2008

                                                                       Acey, Margie v. Merck & 2:06‐cv‐10173‐
1022082 Seeger Weiss LLP        Choate     Deborah     A               Co., Inc.               EEF‐DEK             8/14/2008

                                                                       Aus, Dorothy v. Merck & 2:06‐cv‐10167‐
1021951 Seeger Weiss LLP        Babcock    Michael                     Co., Inc.               EEF‐DEK             8/14/2008

                                                                       Cox, Timothy v. Merck & 2:06‐cv‐10152‐
1022263 Seeger Weiss LLP        Turley     Glover                      Co., Inc.               EEF‐DEK             8/14/2008

                                                                       Martin, Beulah v. Merck   2:06‐cv‐10170‐
1022058 Seeger Weiss LLP        Trainum    Chad                        & Co., Inc.               EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110846 P.A.                    Cantrell   Dorothy                     Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110847 P.A.                    Edwards    Ida                         Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110848 P.A.                    Guyton     Annie                       Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110849 P.A.                    Hood       Mary                        Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110850 P.A.                    Hughes     Rose                        Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110851 P.A.                    Jackson    Annie       W               Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110853 P.A.                    Jackson    Isaac                       Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110854 P.A.                    Landwer    Rosanna                     Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110852 P.A.                    Lockhart   Charlotte                   Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110855 P.A.                    South      Penny                       Merck & Co., Inc.         EEF‐DEK           8/14/2008

        Shelton & Associates,                                          Cantrell, Dorothy v.      2:06‐cv‐10974‐
1110856 P.A.                    Summers    Rosie                       Merck & Co., Inc.         EEF‐DEK           8/14/2008
       EXHIBIT A                                       Page 22 of 24                                 Ineligible/No Discovery
        Shelton & Associates,                                             Cantrell, Dorothy v.       2:06‐cv‐10974‐
1110857 P.A.                     Webb          Earline                    Merck & Co., Inc.          EEF‐DEK           8/14/2008

        Shelton & Associates,                                             Cantrell, Dorothy v.       2:06‐cv‐10974‐
1110858 P.A.                     Williams      Fred                       Merck & Co., Inc.          EEF‐DEK           8/14/2008

        Shelton & Associates,                                             Ivy, Tommie L. v. Merck & 2:07‐cv‐09599‐
1110859 P.A.                     Ivy           Tommy      Lee             Co., Inc.                 EEF‐DEK            8/14/2008

        Shelton & Associates,                                             Woods, Sherry v. Merck     2:07‐cv‐09598‐
1100780 P.A.                     Woods         Sherry                     & Co., Inc.                EEF‐DEK           8/14/2008

                                                                          Cummings, Luann v.         2:06‐cv‐04185‐
1073500 Silverman & Fodera       Cummings      LuAnn      G               Merck & Co., Inc.          EEF‐DEK           8/14/2008

        Smith, Michael,                                                   Davenport, Laura v.        2:06‐cv‐00096‐
1111664 Attorney at Law          ELSTON        WILLIE                     Merck & Co. Inc.           EEF‐DEK           8/14/2008

        Smith, Michael,                                                   Davenport, Laura v.        2:06‐cv‐00096‐
1111656 Attorney at Law          PERALES       CARLOS                     Merck & Co. Inc.           EEF‐DEK           8/14/2008

        St. Martin, Williams &                                            Kibodaux, Maggie v.        2:05‐cv‐00578‐
1081615 Bourque                  Boudreaux     Pearl      M               Merck & Co., Inc.          EEF‐DEK           8/13/2008

        St. Martin, Williams &                                            Schexnayder, Louis J. v.   2:05‐cv‐01200‐
1081616 Bourque                  Schexnayder   Louis      J               Merck & Co., Inc.          EEF‐DEK           8/14/2008

                                                                          Faulkenberry, John v.      2:06‐cv‐11314‐
1079904 Stipe, Harper Law Firm Jones           Gloria                     Merck & Co., Inc.          EEF‐DEK           8/14/2008

                                                                          DeBoutte, Joelle v. Merck 2:05‐cv‐06852‐
1104881 Thornhill & Collings, LC deBautte      Joelle     L               & Co., Inc.               EEF‐DEK            8/13/2008

                                                                          Hall, Ruth A. v. Merck &   2:05‐cv‐03230‐
1073307 Turner & Flessas, S.C.   Casper        Ruth Ann                   Co., Inc.                  EEF‐DEK           8/13/2008

        Weitz & Luxenberg,                                                Falcon‐Matos, Teresita v. 2:05‐cv‐06413‐
1032204 P.C.                     Falcon Matos Teresita                    Merck & Co., Inc.         EEF‐DEK            8/15/2008

        Weitz & Luxenberg,                                                Nardella, Louise v. Merck 2:07‐cv‐09134‐
1032456 P.C.                     Nardella      Louise                     & Co., Inc.               EEF‐DEK            8/15/2008

                                                                          Brimberry, Woodrow v.      2:06‐cv‐06802‐
1081963 Whitehead Law Firm       Lee, Jr.      Norwood    C.              Merck & Co., Inc.          EEF‐DEK           8/15/2008

                                                                          Brimberry, Woodrow v.      2:06‐cv‐06802‐
1081970 Whitehead Law Firm       Sexton        Hubert                     Merck & Co., Inc.          EEF‐DEK           8/15/2008

                                                                          Brimberry, Woodrow v.      2:06‐cv‐06802‐
1081973 Whitehead Law Firm       Thomas        Brenda                     Merck & Co., Inc.          EEF‐DEK           8/15/2008

                                                                          Doyle, Evie v. Merck &     2:05‐cv‐04436‐
1081968 Whitehead Law Firm       Myers         Jennifer                   Co., Inc.                  EEF‐DEK           8/15/2008

                                                                          Doyle, Evie v. Merck &     2:05‐cv‐04436‐
1081967 Whitehead Law Firm       Myers         Arthur     L.              Co., Inc.                  EEF‐DEK           8/15/2008
       EXHIBIT A                                          Page 23 of 24                                  Ineligible/No Discovery
                                                                        Doyle, Evie v. Merck &    2:05‐cv‐04436‐
1081971 Whitehead Law Firm   Smith        Leurline                      Co., Inc.                 EEF‐DEK            8/15/2008

                                                                        Chance, Malissia v. Merck 2:05‐cv‐03377‐
1093491 Wilner Block, P.A.   Chance       Malissia A.                   & Co., Inc.               EEF‐DEK            8/15/2008

                                                                        Cross, Raymond v. Merck 2:05‐cv‐03380‐
1093506 Wilner Block, P.A.   Cross, Sr.   Raymond E.                    & Co., Inc.             EEF‐DEK              8/15/2008

                                                                        Washington, Mary C. v.    2:05‐cv‐02907‐
1093725 Wilner Block, P.A.   Washington   Mary                          Merck & Co., Inc.         EEF‐DEK            8/14/2008

                                                                        Adwell, Tamara G. v.      2:06‐cv‐05830‐
1078765 Young Firm, The      Adwell       Tamara                        Merck & Co., Inc.         EEF‐DEK            8/15/2008

                                                                        Avena, Peter v. Merck & 2:06‐cv‐06753‐
1078758 Young Firm, The      Avena        Peter                         Co., Inc.               EEF‐DEK              8/15/2008

                                                                        Barnett, Hilda v. Merck & 2:05‐cv‐04282‐
1078754 Young Firm, The      Barnett      Hilda         R               Co., Inc.                 EEF‐DEK            8/15/2008

                                                                        Draper, Lynn v. Merck & 2:06‐cv‐06362‐
1078756 Young Firm, The      Draper       Lynn                          Co., Inc.               EEF‐DEK              8/15/2008

                                                                        Fazzina, Anthony v.       2:06‐cv‐05871‐
1078774 Young Firm, The      Fazzina      Anthony                       Merck & Co., Inc.         EEF‐DEK            8/15/2008

                                                                        Fleming, David v. Merck   2:06‐cv‐06363‐
1078749 Young Firm, The      Fleming      David                         & Co., Inc.               EEF‐DEK            8/15/2008

                                                                        Saladana, Paul v. Merck & 2:06‐cv‐06365‐
1078764 Young Firm, The      Saldana      Paul                          Co, Inc.                  EEF‐DEK            8/15/2008

                                                                        See, Gary v. Merck & Co., 2:06‐cv‐06360‐
1078767 Young Firm, The      See          Gary                          Inc.                      EEF‐DEK            8/15/2008

                                                                        Smith, Richard L. v. Merck 2:06‐cv‐06366‐
1078761 Young Firm, The      Smith        Richard       L               & Co., Inc.                EEF‐DEK           8/15/2008

                                                                        Tisut, Susan E. v. Merck & 2:06‐cv‐06369‐
1078751 Young Firm, The      Titus        Susan         E               Co., Inc.                  EEF‐DEK           8/15/2008

                                                                        Trevino, Bonnie v. Merck 2:06‐cv‐06364‐
1078773 Young Firm, The      Trevino      Bonnie                        & Co., Inc.              EEF‐DEK             8/15/2008

                                                                        Watkins, Diane v. Merck 2:05‐cv‐04276‐
1078762 Young Firm, The      Watkins      Diane                         & Co., Inc.             EEF‐DEK              8/15/2008

                                                                        Watson, Claude v. Merck 2:05‐cv‐04271‐
1078747 Young Firm, The      Watson       Claude        W               & Co., Inc.             EEF‐DEK              8/15/2008

                                                                        York, Jason v. Merck &    2:05‐cv‐04287‐
1078750 Young Firm, The      York         Jason         R               Co., Inc.                 EEF‐DEK            8/15/2008




       EXHIBIT A                                        Page 24 of 24                                  Ineligible/No Discovery
